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                                    8 Timothy Barrett
                                    9
                                   10                    UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                   11
                                   12     TIMOTHY BARRETT,                     Case No.: '13CV1082 H    JMA
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                                   13     Individually and On Behalf of All
                                          Others Similarly Situated,           CLASS ACTION
                                   14
                                   15                      Plaintiff,          Complaint for Damages and
                                          v.                                   Injunctive Relief Pursuant To The
                                   16                                          Telephone Consumer Protection
                                   17     VO FINANCIAL                         Act, 47 U.S.C § 227 et seq.
                                          CORPORATION; and VO
                                   18     FINANCIAL MA, INC.,                  Jury Trial Demanded
                                   19
                                                           Defendants.
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                                        CLASS ACTION COMPLAINT
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                                    1                                     INTRODUCTION
                                    2   1.    TIMOTHY BARRETT (“Plaintiff”) brings this Class Action Complaint for
                                    3         damages, injunctive relief, and any other available legal or equitable
                                    4         remedies, resulting from the illegal actions of VO FINANCIAL
                                    5         CORPORATION (“VOFC”); and VO FINANCIAL MA, INC. (“VOFM”),
                                    6         referred to jointly as “VO FINANCIAL” or “Defendants,” in negligently
                                    7         and/or intentionally contacting Plaintiff on Plaintiff’s cellular telephone, in
                                    8         violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
                                    9         (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows
                                   10         upon personal knowledge as to himself and his own acts and experiences,
                                   11         and, as to all other matters, upon information and belief, including
                                   12         investigation conducted by his attorneys.
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                                   13   2.    The actions alleged herein to have been undertaken by the Defendants were
                                   14         undertaken by each defendant individually, were actions that each defendant
                                   15         caused to occur, were actions that each defendant authorized, controlled,
                                   16         directed, or had the ability to authorize, control or direct, and/or were actions
                                   17         each defendant assisted, participated in, or otherwise encouraged, and are
                                   18         actions for which each defendant is liable. Each defendant aided and abetted
                                   19         the actions of the defendants set forth below, in that each defendant had
                                   20         knowledge of those actions, provided assistance and benefited from those
                                   21         actions, in whole or in part. Each of the defendants was the agent of each of
                                   22         the remaining defendants, and in doing the things hereinafter alleged, was
                                   23         acting within the course and scope of such agency and with the permission
                                   24         and consent of other defendants.
                                   25   3.    The Ninth Circuit recently affirmed certification of a TCPA class action
                                   26         remarkably similar to this one in Meyer v. Portfolio Recovery Associates,
                                   27         LLC, __ F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
                                   28   ///


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                                    1                                JURISDICTION AND VENUE
                                    2   4.   This Court has federal question jurisdiction because this case arises out of
                                    3        violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC,
                                    4        132 S. Ct. 740 (2012).
                                    5   5.   Venue is proper in the United States District Court for the Southern District
                                    6        of California pursuant to 18 U.S.C. § 1391(b) because Plaintiff resides in the
                                    7        State of California, the harm to Plaintiff occurred in the State of California
                                    8        and within the County of San Diego, and Defendants are subject to personal
                                    9        jurisdiction in the County of San Diego and within this judicial district
                                   10        because they conduct business there.
                                   11                                       PARTIES
                                   12   6.   Plaintiff is, and at all times mentioned herein was, a citizen and resident of
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                                   13        the State of California. Plaintiff is, and at all times mentioned herein was, a
                                   14        “person” as defined by 47 U.S.C. § 153 (10).
                                   15   7.   Plaintiff is informed and believes, and thereon alleges, that VOFC is, and at
                                   16        all times mentioned herein was, a corporation whose primary address is in
                                   17        New Jersey, and is a resident of the State of New Jersey. VOFM is, and at all
                                   18        times mentioned herein was, a corporation whose primary address is in
                                   19        Massachusetts, and is a resident of the State of Massachusetts. Plaintiff
                                   20        alleges that at all times relevant herein Defendants conducted business in the
                                   21        State of California and in the County of San Diego, and within this judicial
                                   22        district.
                                   23                                 FACTUAL ALLEGATIONS
                                   24   8.   At all times relevant, Plaintiff was a citizen of the State of California.
                                   25        Plaintiff is, and at all times mentioned herein was, a “person” as defined by
                                   26        47 U.S.C. § 153 (10).
                                   27   9.   VOFC is, and at all times mentioned herein was, a corporation and a
                                   28        “person,” as defined by 47 U.S.C. § 153 (10).


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                                    1   10.   VOFM is, and at all times mentioned herein was, a corporation and a
                                    2         “person,” as defined by 47 U.S.C. § 153 (10).
                                    3   11.   At all times relevant, Defendants conducted business in the State of
                                    4         California and in the County of San Diego, and within this judicial district.
                                    5   12.   At no time did Plaintiff provide Plaintiff’s cellular telephone number to
                                    6         Defendants.
                                    7   13.   At no time did Plaintiff ever enter into a business relationship with
                                    8         Defendants.
                                    9   14.   On or about April 16, 2013, at approximately 2:45 p.m. (PST), VO
                                   10         FINANCIAL contacted Plaintiff’s cellular telephone number ending in
                                   11         “8824” from telephone number (619) 568-6932.
                                   12   15.   During this telephone conversation, VO FINANCIAL’s representative, a
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                                   13         female, informed Plaintiff that Plaintiff was called because Plaintiff may
                                   14         have been harassed by third party agencies to rent or sell their timeshares.
                                   15   16.   Plaintiff asked the representative whether the representative dialed
                                   16         Plaintiff’s telephone number. The representative responded that a new
                                   17         system dialed Plaintiff’s telephone number for her, and that the
                                   18         representative did not dial Plaintiff’s telephone number.
                                   19   17.   The representative informed Plaintiff that she was calling from the Cape Cod
                                   20         office.
                                   21   18.   Through such conduct, VO FINANCIAL contacted Plaintiff on Plaintiff’s
                                   22         cellular telephone via an “automatic telephone dialing system” (“ATDS”), as
                                   23         defined by 47 U.S.C. § 227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).
                                   24   19.   This ATDS has the capacity to store or produce telephone numbers to be
                                   25         called, using a random or sequential number generator.
                                   26   20.   The telephone number VO FINANCIAL called was assigned to a cellular
                                   27         telephone service for which Plaintiff incurs a charge for incoming calls
                                   28         pursuant to 47 U.S.C. § 227 (b)(1).


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                                    1   21.   This telephone call constituted a call that was not for emergency purposes as
                                    2         defined by 47 U.S.C. § 227 (b)(1)(A)(i).
                                    3   22.   Plaintiff did not provide VO FINANCIAL or its agent prior express consent
                                    4         to make calls, including unsolicited calls utilizing an ATDS, to Plaintiff’s
                                    5         cellular telephone, pursuant to 47 U.S.C. § 227 (b)(1)(A).
                                    6   23.   This automated telephone call by VO FINANCIAL, or their agents, violated
                                    7         47 U.S.C. § 227(b)(1).
                                    8                              CLASS ACTION ALLEGATIONS
                                    9   24.   Plaintiff brings this action on behalf of himself and on behalf of all others
                                   10         similarly situated (the “Class”).
                                   11   25.   Plaintiff represents and is a member of the Class, which includes:
                                   12
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                                                    All persons within the United States who received any
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                                   13               telephone call from Defendant or its agent/s and/or
                                                    employee/s to said person’s cellular telephone made
                                   14
                                                    through the use of any automatic telephone dialing
                                   15               system, which call was not made for emergency purposes
                                                    or with the recipient’s prior express consent, within the
                                   16
                                                    four years prior to the filing of the Complaint.
                                   17
                                        26.   Defendants and their employees or agents are excluded from the Class.
                                   18
                                              Plaintiff does not know the number of members in the Class, but believes the
                                   19
                                              members of the Class number in the several hundreds, if not thousands.
                                   20
                                              Thus, this matter should be certified as a Class action to assist in the
                                   21
                                              expeditious litigation of this matter.
                                   22
                                        27.   Plaintiff and members of the Class were harmed by the acts of Defendants in
                                   23
                                              at least the following ways: Defendants, either directly or through its agents,
                                   24
                                              illegally contacted Plaintiff and the members of the Class via their cellular
                                   25
                                              telephones thereby causing Plaintiff and the Class members to incur certain
                                   26
                                              cellular telephone charges or reduce cellular telephone time for which
                                   27
                                              Plaintiff and the Class members previously paid, by having to retrieve or
                                   28

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                                    1         administer messages left by Defendants during those illegal calls, and
                                    2         invading the privacy of said Plaintiff and the Class members. Plaintiff and
                                    3         the class members were damaged thereby.
                                    4   28.   This suit seeks only damages and injunctive relief for recovery of economic
                                    5         injury on behalf of the Class, and it expressly is not intended to request any
                                    6         recovery for personal injury and claims related thereto. Plaintiff reserves the
                                    7         right to expand or modify the Class definition to seek recovery on behalf of
                                    8         additional persons as warranted as facts are learned in further investigation
                                    9         and discovery.
                                   10   29.   The joinder of the Class members is impractical and the disposition of their
                                   11         claims in the Class action will provide substantial benefits both to the parties
                                   12         and to the court. The Class can be identified through VO FINANCIAL’s
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                                   13         records or VO FINANCIAL’s agents’ records.
                                   14   30.   There is a well-defined community of interest in the questions of law and
                                   15         fact involved affecting the parties to be represented. The questions of law
                                   16         and fact to the Class predominate over questions which may affect
                                   17         individual members of the Class, including but not limited to the following:
                                   18             a. Whether, within the four years prior to the filing of this Complaint,
                                   19                Defendants made any call (other than a call for emergency purposes
                                   20                or made with the prior express consent of the called party) to a Class
                                   21                member using any automatic telephone dialing system to any
                                   22                telephone number assigned to a cellular telephone service;
                                   23            b. Whether Plaintiff and the Class members were damaged thereby, and
                                   24                the extent of damages for such violations; and
                                   25            c. Whether Defendants should be enjoined from engaging in such
                                   26               conduct in the future.
                                   27   31.   As a person who received at least one text message using an automatic
                                   28         telephone dialing system, without Plaintiff’s prior express consent, Plaintiff


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                                    1         is asserting claims that are typical of the Class. Plaintiff will fairly and
                                    2         adequately represent and protect the interests of the Class in the Plaintiff has
                                    3         no interests antagonistic to any member of the Class.
                                    4   32.   Plaintiff and the members of the Class have all suffered irreparable harm as
                                    5         a result of the Defendants’ unlawful and wrongful conduct. Absent a class
                                    6         action, the Plaintiff and members of the Class will continue to face the
                                    7         potential for irreparable harm. In addition, these violations of law will be
                                    8         allowed to proceed without remedy and Defendants will likely continue such
                                    9         illegal conduct. Because of the size of the individual claims of members of
                                   10         the Class, few, if any, members of the Class could afford to seek legal
                                   11         redress for the wrongs complained of herein.
                                   12   33.   Plaintiff has retained counsel experienced in handling class action claims
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                                   13         and claims involving violations of the Telephone Consumer Protection Act.
                                   14   34.   A class action is a superior method for the fair and efficient adjudication of
                                   15         this controversy. Class-wide damages are essential to induce Defendants to
                                   16         comply with federal and California law. The interest of members of the
                                   17         Class in individually controlling the prosecution of separate claims against
                                   18         Defendants is small because the maximum statutory damages in an
                                   19         individual action for violation of privacy are minimal. Management of these
                                   20         claims is likely to present significantly fewer difficulties than those
                                   21         presented in many class claims.
                                   22   35.   Defendants have acted on grounds generally applicable to the Class, thereby
                                   23         making appropriate final injunctive relief and corresponding declaratory
                                   24         relief with respect to the Class as a whole.
                                   25   ///
                                   26   ///
                                   27   ///
                                   28   ///


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                                    1                               FIRST CAUSE OF ACTION
                                    2     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                                    3                                47 U.S.C. § 227 ET SEQ.
                                    4   36.   Plaintiff incorporates by reference all of the above paragraphs of this
                                    5         Complaint as though fully stated herein.
                                    6   37.   The foregoing acts and omissions of Defendants constitute numerous and
                                    7         multiple negligent violations of the TCPA, including but not limited to each
                                    8         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                    9   38.   As a result of VO FINANCIAL’s negligent violations of 47 U.S.C. § 227 et
                                   10         seq., Plaintiff and the Class are entitled to an award of $500.00 in statutory
                                   11         damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                   12   39.   Plaintiff and the Class are also entitled to and seek injunctive relief
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                                   13         prohibiting such conduct in the future.
                                   14                              SECOND CAUSE OF ACTION
                                   15                   KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                                   16                       TELEPHONE CONSUMER PROTECTION ACT
                                   17                                47 U.S.C. § 227 ET SEQ.
                                   18   40.   Plaintiff incorporates by reference all of the above paragraphs of this
                                   19         Complaint as though fully stated herein.
                                   20   41.   The foregoing acts and omissions of Defendant constitute numerous and
                                   21         multiple knowing and/or willful violations of the TCPA, including but not
                                   22         limited to each and every one of the above-cited provisions of 47 U.S.C. §
                                   23         227 et seq.
                                   24   42.   As a result of VO FINANCIAL’s knowing and/or willful violations of 47
                                   25         U.S.C. § 227 et seq., Plaintiff and the Class are entitled to an award of
                                   26         $1,500.00 in statutory damages, for each and every violation, pursuant to 47
                                   27         U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                   28   43.   Plaintiff and the Class are also entitled to and seek injunctive relief


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                                    1            prohibiting such conduct in the future.
                                    2                                       PRAYER FOR RELIEF
                                    3            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the
                                    4   members of the Class the following relief against Defendants, and each of them:
                                    5                  FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                                    6                             THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                    7           • As a result of VO FINANCIAL’s negligent violations of 47 U.S.C. §
                                    8              227(b)(1), Plaintiff seeks for himself and each member of the Class
                                    9              $500.00 in statutory damages, for each and every violation, pursuant to 47
                                   10              U.S.C. § 227(b)(3)(B).
                                   11           • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                   12              conduct in the future.
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                                   13           • Any other relief the Court may deem just and proper.
                                   14         SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL VIOLATIONS OF
                                   15                             THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                   16           • As a result of VO FINANCIAL’s knowing and/or willful violations of 47
                                   17              U.S.C. § 227(b)(1), Plaintiff seeks for himself and each member of the
                                   18              Class $1,500.00 in statutory damages, for each and every violation,
                                   19              pursuant to 47 U.S.C. § 227(b)(3)(B).
                                   20           • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                   21              conduct in the future.
                                   22           • Any other relief the Court may deem just and proper.
                                   23   ///
                                   24   ///
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                                    1                                     TRIAL BY JURY
                                    2   44.   Pursuant to the seventh amendment to the Constitution of the United States
                                    3         of America, Plaintiff is entitled to, and demands, a trial by jury.
                                    4
                                    5   Dated: May 1, 2013                            Respectfully submitted,
                                    6
                                                                                      KAZEROUNI LAW GROUP, APC
                                    7
                                    8
                                                                                      By: __/s/ Abbas Kazerounian
                                    9                                                       ABBAS KAZEROUNIAN, ESQ.
                                   10                                                       ATTORNEYS FOR PLAINTIFF

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